     3:15-cv-02778-MGL      Date Filed 04/03/17   Entry Number 55      Page 1 of 19




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF SOUTH CAROLINA
                             COLUMBIA DIVISION

 Charles Philip Toussaint, M.D.,            )      C/A No.: 3:15-2778-MGL-SVH
                                            )
                     Plaintiff,             )
                                            )
        vs.                                 )
                                            )   REPORT AND RECOMMENDATION
 Palmetto Health and Greta S. Harper,       )
                                            )
                     Defendants.            )
                                            )

       In this employment discrimination case, Charles Philip Toussaint (“Plaintiff”) is

suing his former employer, Palmetto Health, and Greta S. Harper (“Harper”), his direct

supervisor (collectively “Defendants”). Plaintiff alleges the following remaining causes

of action: (1) discrimination in violation of the Uniformed Services Employment and

Reemployment Rights Act of 1994 (“USERRA”) and (2) defamation. [ECF No. 1-2].

This matter comes before the court on Defendants’ motion for summary judgment. [ECF

No. 41]. This motion having been fully briefed [ECF Nos. 47, 48], it is ripe for

disposition.

       All pretrial proceedings in this case were referred to the undersigned pursuant to

the provisions of 28 U.S.C. § 636(b)(1)(B) and Local Civ. Rule 73.02(B)(2)(g) (D.S.C.).

Because the motion for summary judgment is dispositive, this report and

recommendation is entered for the district judge’s consideration. For the reasons that

follow, the undersigned recommends the district judge grant in part and deny in part

Defendants’ motion for summary judgment.
     3:15-cv-02778-MGL        Date Filed 04/03/17     Entry Number 55      Page 2 of 19




I.     Factual Background1

       On July 1, 2010, Plaintiff began his career as a clinical neurosurgeon with

University of South Carolina’s Department of Neurosurgery as an Assistant Professor of

Clinical Surgery. Pl. Dep. 7:11–25.2 Plaintiff possessed medical privileges and performed

his surgeries at Palmetto Health Richland. In February 2013, Palmetto Health acquired

USC’s Department of Neurosurgery, and Plaintiff became an employee of Palmetto

Health in its neurosurgery practice. Id. at 8:5–10. During his employment with USC and

Palmetto Health, Plaintiff established himself as a talented and skilled surgeon. Hamm

Dep. 65:12–23;3 Raymond Dep. 31:13–15;4 Baskins Dep. 51:22–24.5

       Prior to his employment by Palmetto Health’s, but when he possessed medical

privileges there, Plaintiff was cited for being rude and argumentative to staff. [ECF Nos.

41-3 at 1–4; 41-5 at 6–7]. Most significantly, on July 30, 2012, Plaintiff was paged by a

resident to speak to the parents of a minor concerning their child’s care. [ECF No. 41-3 at

6–10]. The parents had specifically requested to speak to the neurosurgeon, whom they

had not seen previously that day. Id. After the parents’ third request to speak to him,

Plaintiff spoke to them over the phone, but told them that because they were patients of

another doctor, he would only get involved if there was an emergency. Id. He did not

answer their questions. Id. He also directed the resident never to page him again. Id. Six

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  The court views the facts, as it must, in the light most favorable to the Plaintiff, pursuant
to Fed. R. Civ. P. 56. However, where a witness’s perception is relevant, the court makes
no determination of whether the perception is accurate.
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  Excerpts from Plaintiff’s deposition may be found at ECF Nos. 41-2 and 46-2.
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  Excerpts from Hamm’s deposition may be found at ECF Nos. 41-6 and 47-2.
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  Excerpts from Raymond’s deposition may be found at ECF Nos. 41-8 and 47-4.
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  Excerpts from Baskins’ deposition may be found at ECF Nos. 41-10 and 47-5.


                                              2
     3:15-cv-02778-MGL      Date Filed 04/03/17     Entry Number 55     Page 3 of 19




Palmetto Health executives met to discuss the incident and “previous events regarding

Dr. Toussaint’s conduct.” Id. at 5. Plaintiff was placed on a Focused Professional Practice

Evaluation (“FPPE”) on October 3, 2012. Id. at 7.

       Before the effective date of Palmetto Health’s acquisition of the neurosurgery

practice, Dr. James Raymond, its Chief Medical Officer at the time, and Dr. Ellis Knight

met with Plaintiff to discuss his potential employment. Raymond Dep. 26:8–27:22, 31:2–

16; Knight Dep. 17:9–18:8.6 Raymond and Knight specifically told Plaintiff during their

discussion that they were concerned about his misconduct, and wanted to ensure the

behavior would not repeat itself if he became employed. Id. Plaintiff did not deny his

misconduct, was contrite, and insisted the behavior was in the past and would not recur.

Knight Dep. 18:9–17. Despite Raymond and Knight’s concerns, Harper and Judith

Baskins supported his hiring and believed that any behavioral issues could be corrected

with a strong mentor. Knight Dep. 19:2–20:4; Harper Dep. 61:4–62:3;7 Baskins Dep.

33:9–34:1. Palmetto Health ultimately chose to hire Plaintiff based on the

recommendations of Harper and Baskins and the need for a neurosurgeon. Raymond Dep.

31:2–16; Knight Dep. 17:9–18:8.8 On February 3, 2013, Plaintiff signed an Employment

Agreement, effective for a one-year term beginning February 15, 2013. [ECF No. 41-3 at

12–29].




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  Excerpts from Knight’s deposition may be found at ECF No. 41-9.
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  Excerpts from Harper’s deposition may be found at ECF Nos. 41-4 and 47-3.
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  Excerpts from Knight’s deposition may be found at ECF No. 41-9.


                                            3
     3:15-cv-02778-MGL       Date Filed 04/03/17    Entry Number 55         Page 4 of 19




       Throughout his employment, Plaintiff’s interactions with other Palmetto Health

employees often created friction. Witnesses for Defendants noted the following

miscellaneous issues related to Plaintiff that were addressed informally:

     Treatment of staff: On September 10, 2013, Plaintiff was performing a craniotomy
      and the staff members could not assemble the drill. Pl. Dep. 87:12–89:3.
      According to Plaintiff, he raised his voice at the OR nurse and demanded that they
      find the appropriate staff that could fix the drill, as the patient was under
      anesthesia with her skull exposed. Id. The OR nurse made a complaint about
      Plaintiff, alleging he screamed and yelled at her. [ECF No. 41-5 at 5].

     Inappropriate relationship with Crouch: Neurosurgery Practice Manager Meg
      Pearce stated that numerous members of the OR staff “reported that they were
      uncomfortable with Plaintiff’s relationship with his Nurse Practitioner Melissa
      Crouch, which they described as unprofessional and unfitting for the workplace.”
      Crouch Aff. ¶9. Pearce spoke to Plaintiff and Crouch about the appearance of
      impropriety and made clear that the relationship should be work-appropriate. Id.

     Excessive discussion of money: There were several reports of Plaintiff’s
      preoccupation with money, both in casual conversations and in the practice he was
      trying to build. Harper Dep. 245:12–246:7; Hamm Dep. 62:4–12; Pearce 1 Aff. ¶5;
      Molloy Aff. ¶6. Webb 2 Aff. ¶5 [ECF No. 48-4].9

     Openly discussed other employment offers: Plaintiff openly discussed that he was
      exploring other job opportunities. Harper Dep. 78:8–13; Hamm Dep. 158:20–
      159:4; Baskins Dep. 54:6–10.

     Banning staff from the OR: Hamm Dep. 127:18–128:16. Plaintiff denied
      “banning” anyone from the OR, but admits that he had advised that he must have
      trust in all staff in the OR and that there were several instances in which he asked
      that staff not be assigned to his OR. Pl. Dep. 91:19–93:6, 127:23–128:17.

     Manipulation of work: On July 16, 2014, it was reported that Plaintiff was
      “gaming the system” by intentionally changing classifications of surgical
      procedures to note a degree of urgency that did not exist. [ECF No. 41-5 at 4].
9
  Plaintiff and Defendants provided separate affidavits from Practice Manager Meg
Pearce and Dr. Sharon Webb, a neurosurgeon previously employed at Palmetto Health.
“Pearce 1 Aff.” may be found at ECF No. 41-8 and “Pearce 2 Aff.” may be found at ECF
No. 47-6. “Webb 1 Aff.” may be found at ECF No. 47-7 and “Webb 2 Aff.” may be
found at ECF No. 48-4.


                                             4
    3:15-cv-02778-MGL       Date Filed 04/03/17    Entry Number 55     Page 5 of 19




      This allowed Plaintiff to do more surgeries in less time and also delayed surgeries
      for patients with more critical needs.

      Harper met with Plaintiff during the first half of 2014 in an attempt to renegotiate

Plaintiff’s employment contract; however, negotiations did not prove fruitful. Pl. Dep.

67:4–25. Plaintiff contacted Chuck Beaman, CEO of Palmetto Health, and asked that

Harper be removed as the corporate representative for the negotiation his employment

agreement, but his request was denied. Id. Plaintiff continued to be employed by Palmetto

Health, but as an at-will employee without a contract.

       By the summer of 2014, Jay Hamm, Chief Operating Officer of Palmetto Health

Richland, was concerned about the neurosurgery department because of complaints he

had heard both from and about Plaintiff, and he decided to personally investigate. Hamm

Dep. 69:7–70:16; 75:9–13. Hamm scheduled a meeting with all members of the

neurosurgery OR staff and excluded managers and surgeons from the meeting with the

intent of obtaining candid and complete opinions from the staff. Id. They had experienced

turnover recently, and Plaintiff had complained that Head Nurse Greta Kennedy was not

competent. Id. Hamm discovered there were two factions: those who felt it was difficult

to work with Plaintiff, and those who did not. Id. There was “no big outcry” against

Kennedy or a feeling that a new manager was needed. Id. Hamm’s conclusion at the end

of the meeting was that Plaintiff was the biggest problem with the neurosurgery team.

Hamm Dep. 168:13–21.

      Also in the summer of 2014, Dr. Seth Molloy joined the neurosurgery group at

Palmetto Health with the intent to develop a spine surgery practice. Molloy Aff. ¶¶2–4.



                                            5
     3:15-cv-02778-MGL      Date Filed 04/03/17    Entry Number 55     Page 6 of 19




Military Leave

      On December 5, 2014, Plaintiff emailed Harper and informed her that he would be

deployed to Germany with his U.S. Army Reserve Unit for 90 days beginning May 29,

2015. [ECF No. 41-5 at 8–9]. Harper’s responded “Well, I’m sure this is needed for the

country but it sure is bad for us.” Id. Harper then forwarded the notice to Hamm and

Baskins. Id. at 10–12. In response, Hamm inquired about the status of Plaintiff’s contract

negotiations and Palmetto Health’s plans for him. Id. Baskins responded by stating that

Plaintiff had not signed his contract and that they suspected he was looking for other

employment.10 Id. Hamm replied by asking “can we make it easier for him.” Id. Baskins

then responded that Palmetto Health was reluctant to terminate Plaintiff because they

were at “such a vulnerable stage with neurosurgery.” Id.

      Over the next few months, Palmetto Health began making preparations to

accommodate Plaintiff’s military leave, including determining whether it had an

obligation to continue to pay Plaintiff during his leave. Corporate Dep. 47:2–48:7.11

Based on her understanding at the time, Harper believed that Palmetto Health was

obligated to continue paying Plaintiff his salary for the entirety of his leave under its

10
   In fact, Plaintiff was seeking employment elsewhere. Plaintiff had been engaged in
serious discussions with Lexington Medical Center (“LMC”) about developing a
neurosurgery practice. Plaintiff informed LMC in an email on December 9, 2014, that his
goal was to start at LMC on October 1, 2015, just over a month after his military leave
was scheduled to end. [ECF No. 41-3 at 56]. He planned to notify Palmetto Health on
July 1, 2015, while he was out for his military leave. Id. By February 11, 2015, Plaintiff
was creating draft press releases for LMC to announce the neurosurgery practice. Id. at
59–60.
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   “Corporate Dep.” refers to Palmetto Health 30(b)(6) deposition, in which Harper and
Curt Collins testified. Excerpts of the deposition may be found at ECF Nos. 41-11 and
47-12.


                                            6
     3:15-cv-02778-MGL      Date Filed 04/03/17    Entry Number 55      Page 7 of 19




salary continuance policy. Id. Palmetto Health also began determining how it would

cover patients and surgeries during his leave. Baskins Dep. 61:16–65:14. Meg Pearce, the

practice manager for the neurosurgery practice, began identifying, recruiting, and

engaging locum tenens (“locums”) neurosurgeons to substitute for Plaintiff during his

military leave of absence. Pearce 2 Aff. ¶10. Locums are part-time physicians who are

hired on a limited basis to alleviate staffing shortages. Id. Palmetto Health, through

Pearce’s efforts, engaged several locums to substitute for Plaintiff during his deployment.

Id. In addition, Palmetto Health decided to assign spinal surgeries that Plaintiff normally

performed to Molloy. Baskins Dep. 63:19–64:1.)

Work Distribution

      In January 2015, concerns arose regarding Plaintiff’s hoarding of the locums’

work to the disadvantage of Molloy. Pl. Dep. 131:15–32:5; Harper Dep. 180:1–23,

199:10–200:2; Molloy Aff. ¶¶9–10; Pearce 1 Aff. ¶¶12–14. Plaintiff was receiving most

of the more financially-rewarding work from the locums. Id.; Harper Dep. 194:5–195:3-

95. Plaintiff’s colleagues suspected he was informing the locums to refer patients to him

and not to Molloy. Molloy Aff. ¶9; Pearce 2 Aff. ¶12. Additionally, Plaintiff would arrive

early on Monday morning, review the locums’ cases from the weekend, choose the more

desirable cases he wanted, and leave the remainder for Molloy. Molloy Aff. ¶9; Pearce 1

Aff. ¶12. Plaintiff also refused to perform shunt operations, asserting he did not feel

competent to perform this type surgery, except in emergencies. Pl. Dep. 151:4–152:2.

Accordingly, Molloy was left to handle all of the shunt operations, which themselves are

less lucrative procedures and also occupied Molloy’s time so that he could not perform as


                                            7
     3:15-cv-02778-MGL       Date Filed 04/03/17     Entry Number 55        Page 8 of 19




many spine procedures, leaving more such procedures available to Plaintiff. Molloy Aff.

¶8; Pearce Dep. ¶13. Molloy voiced his concerns about Plaintiff to Pearce, and Pearce

reported it to Harper. Molloy Aff. ¶10; Pearce 1 Aff. ¶14.

January 25, 2015 Incident

       During a spinal fusion surgery, Athelstine Turner, a scrub technician, broke

sterility in the procedure by allowing a knife or needle that was to be used in the

procedure to touch an unsterile surface. Pl. Dep. 93:16–98:10. Later, Turner made a

major error and dropped a bone collector that contained a piece of the patient’s bone that

was to be used in the surgery. Id. The bone dropped to the floor, making it unusable for

the procedure because it had touched an unsterile surface. Id.; Crouch Dep. 11:10–12:12.

According to the complaint Turner filed, Plaintiff said, “You’re fucking up and you need

to stop fucking up.” [ECF No. 41-3 at 33]. Turner further complained that this was not

the first time Plaintiff had used disrespectful language towards her. Id.

       When Hamm, Harper, Baskins, and other administrators were informed of the

incident, the consensus among the administrators was that they had to put a stop to

Plaintiff’s abusive behavior. [ECF No. 41-5 at 13–17]. According to Raymond, the

incident was the “final straw” that led to the termination. Raymond Dep. 38:12–22. While

Harper reviewed the incident as a personnel matter according to Palmetto Health’s

progressive disciplinary policy, Palmetto Health’s Professional Practice Council (the

“Council”), led by Dr. Eric Brown, reviewed the incident as a medical staff matter.

Harper Dep. 131:13–132:25. The Council addresses conduct of all physicians on

Palmetto Health’s medical staff. Raymond Dep. 13:21–23.


                                              8
     3:15-cv-02778-MGL      Date Filed 04/03/17    Entry Number 55      Page 9 of 19




       On February 3, 2015, Harper and Jim Lathren, Chief Operating Officer of

Palmetto Health Systems, met with Plaintiff to discuss the allegations of his

unprofessional and abusive behavior. Pl. Dep. 117:18–118:6; ECF No. 41-5 at 19–20.

Plaintiff acknowledged his profanity and claimed he would abide by the Standards of

Behavior going forward, including avoiding the use of profanity. Id. Harper emphasized

to Plaintiff that his behavior was disruptive to optimal team performance, could

negatively impact quality and safety, and would not be tolerated in the future. Id. After

consulting with Raymond and Baskins, Harper issued Plaintiff a written warning under

Palmetto Health’s disciplinary policy on February 17, 2015. Harper Dep. 169:16–170:7.

Plaintiff’s Termination

       In late February 2015, Molloy again contacted Harper to complain about Plaintiff.

Molloy Aff. ¶¶12–13. Molloy told Harper that Plaintiff, unbeknownst to Molloy, had

contacted one of Molloy’s patients and recommended that the patient discontinue his

relationship with Molloy and, instead, receive treatment at Duke University Medical

Center. Id. Molloy knew nothing about the issue or Plaintiff’s interference until he called

the patient to discuss a biopsy report. Id. After this event—particularly in light of

Molloy’s prior frustrations with Plaintiff—Harper and others became concerned that

Molloy may leave Palmetto Health due to the ongoing issues with Plaintiff. Harper Dep.

249:17–25; Baskins Dep. 167:21–168:17. Harper contacted Dr. Skarli, the only other

neurosurgeon in the practice at the time, to assess the extent of Plaintiff’s problems with

his colleagues. Harper Dep. 250:14–251:25. Skarli confirmed the issues with Plaintiff,

describing him as concerned only for his own best interests and having one foot out the


                                            9
    3:15-cv-02778-MGL       Date Filed 04/03/17    Entry Number 55      Page 10 of 19




door. Id. Harper testified that hearing from Molloy was the “nail in the coffin” when she

“came over to the side with all my other administrative peers and said, despite the

vulnerability from being short-staffed, that we had no choice but to proceed with

separation.” Id. at 250:7–13.

       The decision to terminate Plaintiff was made in a meeting on or around February

24, 2015, that was attended by Harper, Baskins, Lathren, and Raymond. Baskins Dep.

123:3–24; Raymond Dep. 45:4–15. Plaintiff’s military deployment was discussed during

the meeting. According to Raymond, Plaintiff’s military leave was “a fact, a brute fact

that had to be taken into account” in the termination decision. Raymond Dep. 35:14–38:3.

Baskins testified that Plaintiff’s military leave was discussed because they had to discuss

coverage for neurosurgery, and, because they had been preparing for his absence, there

was already a plan to support patient care. Baskins Dep. 126:22–127:15.

       On February 26, 2015, Plaintiff met with Harper, Raymond, Baskins, and Ashley

Raffinie, Palmetto Health’s Human Resources Business Partner. [ECF No. 41-3 at 37–

39]. Harper informed Plaintiff that Palmetto Health was terminating his employment, but

that Palmetto Health would label Plaintiff’s separation as voluntary and “without cause”

so as to minimize the adverse impact that his termination would have on future

employment opportunities. Id.

Post-Termination

       On February 27, 2015, Palmetto Health issued a “Talking Points” memorandum to

its neurosurgery staff to use in fielding questions pertaining to Plaintiff. Harper Dep.

216:25–217:19. Palmetto Health also sent a letter to Plaintiff’s patients and the practice’s


                                            10
    3:15-cv-02778-MGL        Date Filed 04/03/17    Entry Number 55       Page 11 of 19




referral sources to notify them of his departure. Id. Because Plaintiff did not have other

employment at that time, the documents did not have information related to Plaintiff’s

relocation. Plaintiff acknowledges that the letters to patients and physicians were

accurate. Pl. Dep. 261:16–18; 268:20–22. With regard to the Talking Points, Plaintiff

complains that they created an implication of patient abandonment and they instructed

Palmetto Health employees to indicate that they did not know the details of his departure.

Id. at 266:2–17. II. Discussion

       A.     Standard on Summary Judgment

       The court shall grant summary judgment “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). The movant bears the initial burden of demonstrating that

summary judgment is appropriate; if the movant carries its burden, then the burden shifts

to the non-movant to set forth specific facts showing that there is a genuine issue for trial.

See Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). If a movant asserts that a fact

cannot be disputed, it must support that assertion either by “citing to particular parts of

materials in the record, including depositions, documents, electronically stored

information, affidavits or declarations, stipulations (including those made for purposes of

the motion only), admissions, interrogatory answers, or other materials;” or “showing . . .

that an adverse party cannot produce admissible evidence to support the fact.” Fed. R.

Civ. P. 56(c)(1).

       In considering a motion for summary judgment, the evidence of the non-moving

party is to be believed and all justifiable inferences must be drawn in favor of the non-


                                             11
    3:15-cv-02778-MGL        Date Filed 04/03/17    Entry Number 55      Page 12 of 19




moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). However,

“[o]nly disputes over facts that might affect the outcome of the suit under the governing

law will properly preclude the entry of summary judgment. Factual disputes that are

irrelevant or unnecessary will not be counted.” Id. at 248.

       B.     Analysis

              1.     USERRA

       In a USERRA case, “‘there must be an initial showing by the employee that

military status was at least a motivating or substantial factor in the [employer] action,

upon which the [employer] must prove, by a preponderance of evidence, that the action

would have been taken despite the protected status.’” Bunting v. Town of Ocean City, 409

F. App’x 693, 695 (4th Cir. 2011) (quoting Sheehan v. Dep’t of the Navy, 240 F.3d 1009,

1014 (Fed. Cir. 2001)). To establish a certain factor as a motivating factor, a claimant

need not show that it was the sole cause of the employment action, but rather that it is one

of the factors that a truthful employer would list if asked for the reasons for its decision.

Brandsasse v. Suffolk, Va., 72 F.Supp.2d 608, 617 (E.D.Va.1999); see Price Waterhouse

v. Hopkins, 490 U.S. 228, 250 (1989) (explaining what causes a factor to be a motivating

factor in a discrimination claim).

       Here, Plaintiff has met his burden of establishing an initial showing that his

upcoming deployment was a motivating factor in his termination. First, the temporal

proximity of his notification to Defendants on December 5, 2014, of his upcoming

deployment was less than three months prior to his termination. Additionally, his

termination was approximately three months prior to his expected deployment.


                                             12
    3:15-cv-02778-MGL       Date Filed 04/03/17    Entry Number 55      Page 13 of 19




Defendants argue that temporal proximity is insufficient to show Plaintiff’s military

status was a motivating factor. [ECF No. 41-1 at 27]. However, here it is combined with

additional evidence. When Plaintiff first notified Harper of his upcoming deployment,

she replied “Well, I’m sure this is needed for our country but it sure is bad for us.” [ECF

No. 41-3 at 36]. Additionally, when Harper forwarded Plaintiff’s notification of

upcoming deployment to Baskins, Wigg, and Hamm, it sparked a discussion of the status

of Plaintiff’s contract negotiations. [ECF No. 41-5 at 10–12]. Plaintiff’s contract had

expired ten months prior and no agreement had been reached. Baskins responded that

Plaintiff had not signed a contract and she suspected he was actively looking elsewhere,

to which Hamm responded “Can we make it easier for him?” Id. While Hamm’s

statement was related to the contract negotiations, Defendants can not dispute that the

discussion of Plaintiff’s continued employment was sparked by his notification of

military deployment. Finally, Hamm and Baskins admitted that Plaintiff’s upcoming

deployment had been discussed in the decision to terminate him, although they insisted it

was only related to patient care in Plaintiff’s absence. Raymond Dep. 35:14–38:3;

Baskins Dep. 126:22–127:15. The undersigned finds, for purposes of his prima facie

case, Plaintiff has met his burden of showing that his deployment was a motivating factor

in the decision to terminate him.

       Plaintiff’s having established a prima facie case, the burden shifts to Defendants to

show that they would have terminated Plaintiff independently of his military leave. The

undersigned finds that there is a genuine dispute of fact about whether Defendants would

have terminated Plaintiff independently of the deployment. Certainly, Defendants have


                                            13
    3:15-cv-02778-MGL      Date Filed 04/03/17    Entry Number 55      Page 14 of 19




provided ample evidence that they would have had reason to terminate Plaintiff based on

his conflicts with staff, conflicts with his partner, his refusal to sign a contract with

Palmetto Health, and his indication to Harper that he was exploring job opportunities

elsewhere. However, Defendants’ own evidence shows that almost all of the problems

and complaints they had with Plaintiff had existed for months, if not years. Although

Raymond testified that Plaintiff’s reaction when a nurse dropped a bone graph was the

“the last straw,” Harper addressed that issue with Plaintiff and gave him a written

warning on February 17, 2015.

      Harper testified that Molloy’s complaints, particularly his complaint that Plaintiff

had independently contacted and referred one of Molloy’s patients to Duke University

without discussing it with Molloy, was the “nail in the coffin.” Harper Dep. 250:7–13.

Baskins’ testimony indicates that: (1) this information came to light after Plaintiff’s

written discipline on February 17, 2015; (2) Baskins had a call with Harper and Molloy

upon being advised of Plaintiff’s referral of Molloy’s patient to Duke; and (3) Baskins

and Harper viewed this action as a serious professional breach and were concerned that it

might cause Molloy to leave the practice. Baskins Dep. 166:3–168:17, 171:16–173:10.

      The undersigned finds that under the unique facts of this case, the determination of

whether Plaintiff’s expected military deployment was a motivating factor for his

termination is a question for the jury. On one hand, if Defendants were searching for a

pretextual basis to terminate Plaintiff, Harper could have terminated him on February 17,

2015, instead of giving him only a written warning. On the other hand, Defendants’

concerns about being short-staffed appear to be a large reason they did not previously


                                           14
     3:15-cv-02778-MGL      Date Filed 04/03/17    Entry Number 55      Page 15 of 19




terminate Plaintiff,12 and his military leave forced them to resolve that issue. Therefore,

his military leave may have eliminated a motivating reason for continuing to employ him.

The determination of this question will likely turn on the credibility of the witnesses,

which the undersigned may not assess on a motion for summary judgment. Jacobs v. N.C.

Admin. Office of the Courts, 780 F.3d 562, 568–69 (4th Cir. 2015). Therefore, the

undersigned recommends Defendants’ motion for summary judgment be denied as to

Plaintiff’s USERRA claim.

              2.     Defamation

       Plaintiff asserts a defamation claim against Defendants. To recover for defamation

under South Carolina law, the complaining party must show: (1) a false and defamatory

statement was made; (2) the unprivileged statement was published to a third party; (3) the

publisher was at fault; and (4) either the statement was actionable irrespective of harm or

the publication of the statement caused special harm. Fleming v. Rose, 567 S.E.2d 857,

860 (S.C. 2002).

       Under South Carolina law, “a defamatory insinuation may be made by actions or

conduct as well as by word.” Tyler v. Macks Stores of South Carolina, Inc., 272 S.E.2d

633, 634 (S.C. 1980). Defamation “need not be accomplished in a direct manner” and a

“mere insinuation is as actionable as a positive assertion if it is false and malicious and

the meaning is plain.” Id. “The meaning of a communication is that which the recipient

correctly, or mistakenly but reasonably, understands that it was intended to express.”


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  Harper Dep. 250:7–13; Hamm Dep. 158:4–11; Raymond Dep. 31:11–16; Knight Dep.
20:16–21:13; Baskins Dep. 63:11–64:14.


                                            15
    3:15-cv-02778-MGL          Date Filed 04/03/17     Entry Number 55       Page 16 of 19




Cooper v. Lab. Corp. of Am. Holdings, Inc., 150 F.3d 376, 381 (4th Cir. 1998) (quoting

Restatement (Second) of Torts § 563 in defamation case under South Carolina law).

Therefore, while truth is a complete defense to defamation, an untrue innuendo or

inference drawn from the true statement may nonetheless give rise to liability. See Adams

v. Daily Tel. Co., 356 S.E.2d 118, 122 (S.C. Ct. App. 1986). The inference must,

however, be reasonable. Fountain v. First Reliance Bank, 730 S.E.2d 305, 310 (S.C.

2012). “[T]he intent and meaning of an alleged defamatory statement must be gathered

not only from the words singled out as libelous, but from the context [of the entire

publication].” Erickson v. Jones Street Publishers, LLC, 629 S.E.2d 653, 674 (S.C.

2006).

         Here, Plaintiff does not argue that the literal words of the patient notification letter

were untrue and points to no particular oral communication that was untrue. Instead,

Plaintiff first argues that the “patient notification letter and/or communications with

Palmetto Health staff created the impression that [Plaintiff] had abruptly abandoned his

practice and his patients.” [ECF No. 46 at 37]. Plaintiff submitted affidavits of patients

that felt that they had been abandoned upon being unable to contact Plaintiff. [ECF Nos.

46-3 – 46-6].

         Plaintiff has not provided the court with any cases utilizing South Carolina law to

support a defamation claim under these circumstances. The South Carolina Supreme

Court has held that for statements to be considered defamatory, the alleged defamatory

construction must be reasonable and “not extend to purely conjectural interpretations.”

Fountain, 730 S.E.2d 305, 310 (S.C. 2012) (affirming summary judgment on a


                                                16
     3:15-cv-02778-MGL      Date Filed 04/03/17     Entry Number 55      Page 17 of 19




defamation claim where a bank representative stated that the bank would not give a loan

if Plaintiff were involved in the business); c.f. Adams v. Daily Telegraph Co., 356 S.E.2d

118, 119–20 (S.C. Ct. App. 1986) (reversing the trial court’s grant of summary judgment

in favor of two television stations after broadcasting a press conference where the family

of two murdered stepbrothers suggested other members of the family undergo “truth

testing” regarding the unsolved murders and inviting the public “draw their own

conclusion” from other family members’ refusal to cooperate). Here, Defendants did not

imply that Plaintiff had abandoned his patients. They did not provide information as to

Plaintiff’s future plans, as they did not possess such information. To the extent Plaintiff’s

patients formed assumptions that Plaintiff had abandoned his patients after Defendants’

written or oral communications, such assumptions are not reasonable based on the record

before the court.

       Plaintiff next contends that Defendants made actual false statements. [ECF No. 46

at 37]. In so arguing, Plaintiff claims that Curt Collins, Practice Administrator, knew by

March 13, 2015, of Plaintiff’s new practice at LMC. [ECF No. 46 at 16; 46-1 at 9].

Plaintiff argues that Collins did not inform Palmetto Health employees of Plaintiff’s plans

and they continued to tell patients that they did not know how to contact Plaintiff.13

However, the evidence shows only that Plaintiff requested Collins to speak to John

Moore of LMC regarding transportation of Plaintiff’s personal office items. Id.

Defendants are not required, and arguably not permitted, to make assumptions about the

13
   Plaintiff cites deposition to pages 150–153 of Collins’ deposition testimony for this
proposition, but these pages are not included in the exhibits. For purposes of this motion,
the undersigned assumes Plaintiff’s assertion is supported by the record.


                                             17
       3:15-cv-02778-MGL     Date Filed 04/03/17     Entry Number 55     Page 18 of 19




status of Plaintiff’s employment based on the transportation of his personal office items.

In fact, Plaintiff was not employed by LMC on March 13, 2015, as Plaintiff admits that

he did not enter into an employment contract until March 23, 2015, and his employment

did not commence until April 6, 2015. Pl. Dep 276:9–14; Moore Dep. 37:19–21. There is

no evidence that Plaintiff clearly stated his new employment, provided any contact

information for his new practice, or advised Defendants when his new employment

would start.

         As Plaintiff has not provided evidence of any statement by Defendants that is

either false or has a defamatory insinuation, the undersigned recommends Defendants be

granted summary judgment on Plaintiff’s defamation claim.

III.     Conclusion and Recommendation

         For the foregoing reasons, the undersigned recommends Defendants’ motion for

summary judgment be denied as to Plaintiff’s USERRA claim and granted as to his

defamation claim.

         IT IS SO RECOMMENDED.



April 3, 2017                                      Shiva V. Hodges
Columbia, South Carolina                           United States Magistrate Judge

        The parties are directed to note the important information in the attached
          “Notice of Right to File Objections to Report and Recommendation.”




                                           18
    3:15-cv-02778-MGL       Date Filed 04/03/17     Entry Number 55      Page 19 of 19




          Notice of Right to File Objections to Report and Recommendation

       The parties are advised that they may file specific written objections to this Report
and Recommendation with the District Judge. Objections must specifically identify the
portions of the Report and Recommendation to which objections are made and the basis
for such objections. “[I]n the absence of a timely filed objection, a district court need not
conduct a de novo review, but instead must ‘only satisfy itself that there is no clear error
on the face of the record in order to accept the recommendation.’” Diamond v. Colonial
Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committee’s note).

       Specific written objections must be filed within fourteen (14) days of the date of
service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.
72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil
Procedure 5 may be accomplished by mailing objections to:

                                 Robin L. Blume, Clerk
                               United States District Court
                                  901 Richland Street
                             Columbia, South Carolina 29201

       Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States
v. Schronce, 727 F.2d 91 (4th Cir. 1984).
